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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA


KENNETH SIGMUND                             )    Case Number
                                            )
               Plaintiff                    )
                                            )
                 vs.                        )    CIVIL COMPLAINT
                                            )
TRANSWORLD SYSTEMS, INC.                    )
                                            )    JURY TRIAL DEMANDED
                                            )
                Defendant                   )
                                            )


                             COMPLAINT AND JURY DEMAND

         COMES NOW, Plaintiff, Kenneth Sigmund, by and through his undersigned

counsel, Brent F. Vullings, Esquire, of Vullings Law Group, LLC, complaining of

Defendant, and respectfully avers as follows:

                        I.      INTRODUCTORY STATEMENT

         1.    Plaintiff, Kenneth Sigmund, is an adult natural person and he brings this

action for actual and statutory damages and other relief against the Defendant for

violations to the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”),

which prohibits debt collectors from engaging in abusive, deceptive and unfair practices,

as well as violations of New York General Business Laws §349 and §601 and finally

relief against Invasion of Privacy by Intrusion upon Seclusion.

                                II.   JURISDICTION

         2.    Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

§1337.
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        3.      Venue in this District is proper in that the Defendant maintains a primary

location in this District.

                                III.      PARTIES

        4.      Plaintiff, Kenneth Sigmund, (hereafter, Plaintiff) is an adult natural person

residing at 111 La Bonn Vie Drive, East Patchogue, NY 11772. At all times material and

relevant hereto, Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a

(3).

        5.      Defendant, Transworld Systems, Inc. (hereafter, Defendant), at all times

relevant hereto, is and was a corporation engaged in the business of collecting debt within

the Commonwealth of Pennsylvania and the State of New York with a principal place of

business located at 507 Prudential Road, Horsham, PA 19044.

        6.      Defendant is engaged in the collection of debts from consumers using the
telephone and mail. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.
§1692a(6).


                         IV.    FACTUAL ALLEGATIONS

        7.      Within the last several months, Plaintiff has been receiving constant and

continuous calls to his home from the Defendant looking for payment on an alleged past

due medical bill said to be due to Brookhaven Heart, PLLC.

        8.      Plaintiff is said to owe a balance of approximately $634.00.

        9.      Since the initial call, the Plaintiff has requested validation of this alleged

debt, as he has both primary and secondary health insurance and would not owe a debt

for any medical bill or procedure.
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       10.     Despite continually asking for validation of the alleged debt, the

Defendant has ignored Plaintiff’s requests and continues to mislead the Plaintiff by

attempting to collect on an invalid account.

       11.     During one of the earliest calls with the Defendant, the Plaintiff was

threatened that failure to set up payment arrangements on account #28026925 would

result in the Defendant reporting this account negatively on Plaintiff’s credit.

       12.     Defendant has continued with their collection efforts despite their failure

to provide validation of any kind for this alleged debt.

       13.     On or about January 19, 2015, Plaintiff received yet another call from the

Defendant demanding payment.

       14.     Plaintiff asked Defendant’s female agent if she could at least provide him

proof of the alleged date of medical service.

       15.     Defendant’s female agent’s response was that she could not provide the

Plaintiff with anything to validate the account, she just knew that he needed to make a

payment.

       16.     Plaintiff further asked how the Defendant could be collecting on debt that

they could not validate or provide background information for.

       17.     Defendant’s agent replied that most people usually do not ask for their

accounts to be validated so they will continue to collect.

       18.     At no time since the Defendant started to contact the Plaintiff has he been

informed of his rights to dispute this alleged debt.
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       19.      As of the filing of this complaint, the Plaintiff continues to receive calls

from the Defendant demanding that he make payment arrangements to pay off an

unsubstantiated account.

       20.      The Defendant acted in a false, deceptive, misleading and unfair manner

when they engaged in conduct the natural consequence of which is to harass, oppress or

abuse such person in connection with the collection of a debt.

       21.      Defendant knew or should have known that their actions violated the

FDCPA and other state laws. Additionally, Defendant could have taken the steps

necessary to bring their and their agent’s actions within compliance of the FDCPA but

neglected to do so and failed to adequately review those actions to insure compliance

with the law.

       22.      At all times pertinent hereto, Defendant was acting by and through their

agents, servants and/or employees, who were acting within the scope and course of their

employment, and under the direct supervision and control of Defendant herein.

       23.      At all times pertinent hereto, the conduct of Defendant as well as their

agents, servants and/or employees, was malicious, intentional, willful, reckless, negligent

and in wanton disregard for federal and state law and the rights of the Plaintiff herein.

       24.      As a result of Defendant’s conduct, Plaintiff has sustained actual damages,

including, but not limited to, injury to Plaintiff reputation, invasion of privacy, damage to

Plaintiff credit, out-of-pocket expenses, physical, emotional and mental pain and anguish

and pecuniary loss and he will continue to suffer same for an indefinite time in the future,

all to his great detriment and loss.
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                                    COUNT I - FDCPA

       25.     The above paragraphs are hereby incorporated herein by reference.

       26.     At all times relevant hereto, Defendant was attempting to collect an

alleged debt which was incurred by Plaintiff for personal, family or household purposes

and is a “debt” defined by 15 U.S.C. § 1692a(5).

       27.     The foregoing acts and omissions constitute violations of the FDCPA,

including, but not limited to, violations of:

               §§ 1692d:               Any conduct the natural consequence of which is to

                                       harass, oppress, or abuse any person

               §§ 1692d(5):            Caused the phone to ring or engaged any person in

                                       telephone conversations repeatedly

               §§ 1692e:               Any other false, deceptive, or misleading

                                       representation or means in connection with the debt

                                       collection

               §§ 1692e(8):            Threatens or communicates false credit information,

                                       including the failure to communicate that the debt is

                                       disputed

               §§ 1692e(10):           Any false representation or deceptive means to

                                       collect a debt or obtain information about a

                                       consumer

               §§ 1692f:               Any unfair or unconscionable means to collect or

                                       attempt to collect an alleged debt

               §§ 1692g(a)(3):         Must state the right to dispute within 30 days
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                §§ 1692g(b):           Collector must cease collection efforts until the debt

                                       is validated

        WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant, Transworld, for the following:

        a.      Actual damages;

        b.      Statutory damages pursuant to 15 U.S.C. § 1692k;

        c.      Reasonable attorney’s fees and litigation expenses, plus costs of suit;

        d.      Such addition and further relief as may be appropriate or that the interests

                of justice require.

        d.      Such addition and further relief as may be appropriate or that the interests

of justice require.

                                         COUNT II

                  Violations of New York General Business Law §349

        28.     Plaintiff hereby restates realleges and incorporates herein by reference all

foregoing paragraphs as if set forth fully in this count.

        29.     Under New York General Business Law §349, deceptive acts or practices

in the conduct of any business conducted in the State of New York are unlawful.

        30.     GBL §349 provides in relevant part as follows:

                (a)     Deceptive acts or practices in the conduct of any business, trade or

                        commerce or in the furnishings of any service in this state are

                        hereby declared unlawful

                (g)     This section shall apply to all deceptive acts or practices declared

                        to be unlawful, whether or not subject to any other law of this
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                       state, and shall not supersede, amend or repeal any other law of

                       this state under which the attorney general is authorized to take any

                       action or conduct inquiry

                 (h)   In addition to the right of action granted to the attorney general

                       pursuant to this section, any person who has been injured by reason

                       of any violation of this section may bring an action in his own

                       name to enjoin such unlawful act or practice, an action to recover

                       their actual damages or fifty ($50) dollars whichever is greater, or

                       both such actions. The court may, in discretion, increase the award

                       of damages to an amount not to exceed three times the actual

                       damages up to one thousand dollars, if the court finds the

                       Defendant willfully or knowingly violated this section. The

                       court may award reasonable attorney’s fees to a prevailing

                       Plaintiff.

       31.       As a direct and proximate result of Defendant’s deceptive acts and

practices, committed in violation of GBL §349, Plaintiff was damaged in that they,

among other things, suffered stress and anxiety as a result of the practices and actions of

the Defendant.


       WHEREFORE Plaintiff prays this Honorable Court enter judgment in their favor

and against Defendant, and Order the following relief:

                 a.    Actual damages

                 b.    Statutory damages
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               c.       An award of reasonable attorney’s fees and expenses and cost of

                        suit; and

               d.       Such additional relief as is deemed just and proper, or that the

                        interest of justice may require.



                                         COUNT III

                    Violations of New York General Business Law §601

       32.     Plaintiff hereby restates realleges and incorporates herein by reference all

foregoing paragraphs as if set forth fully in this count.

       33.     Under New York General Business Law §601, deceptive acts or practices

in the conduct of any business conducted in the State of New York are unlawful.

       34.     GBL §601 provides in relevant part as follows:

               (a)      Communicate with the debtor or any member of his family or

                        household with such frequency or at such unusual hours or in such

                        a manner as can reasonably be expected to abuse or harass the

                        debtor;

       WHEREFORE Plaintiff prays this Honorable Court enter judgment in their favor

and against Defendant, and Order the following relief:

               a.       Actual damages

               b.       Statutory damages

               c.       An award of reasonable attorney’s fees and expenses and cost of

                        suit; and
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               d.      Such additional relief as is deemed just and proper, or that the

                       interest of justice may require.



                                        COUNT IV

         INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

       35.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       36.     The Restatement of Torts, Second, § 652(b) defines intrusion upon

seclusion as, “One who intentionally intrudes…upon the solitude or seclusion of another,

or his private affairs or concerns, is subject to liability to the other for invasion of

privacy, if the intrusion would be highly offensive to a reasonable person.”

       37.     New York further recognizes the Plaintiff’s right to be free from invasions

of privacy, thus the Defendants violated New York state law.

       38.     The Defendant intentionally intruded upon the Plaintiff’s right to privacy

by continually harassing the Plaintiff with numerous calls.

       39.     The conduct of the Defendant in engaging in the illegal collection

activities resulted in multiple invasions of privacy in such a way as would be considered

highly offensive to a reasonable person.

       40.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from the Defendant.

       41.     All acts of the Defendant were committed with malice, intent,

wantonness, and recklessness, and as such, the Defendant is subject to punitive damages.
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       WHEREFORE Plaintiff prays this Honorable Court enter judgment in their favor

and against Defendant, and Order the following relief:

              a.      Actual damages

              b.      Statutory damages

              c.      An award of reasonable attorney’s fees and expenses and cost of

                      suit; and

              d.      Such additional relief as is deemed just and proper, or that the

                      interest of justice may require.



                                  V.   JURY DEMAND

              Plaintiff hereby demands a jury trial as to all issues herein.



                                             Respectfully submitted,

                                             VULLINGS LAW GROUP, LLC

Date: January 30, 2015
                                             BY: /s/Brent F. Vullings bfv8435
                                                   Brent F. Vullings, Esq.
                                                   Vullings Law Group, LLC
                                                   3953 Ridge Pike
                                                   Suite 102
                                                   Collegeville, PA 19426
                                                   (P): 610-489-6060
                                                   (F): 610-489-1997
                                                   Attorney for Plaintiff
                                                   bvullings@vullingslaw.com
